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 3
                                         THE HONORABLE JUDGE THOMAS ZILLY
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 8                   UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF WASHINGTON
 9
                                 AT SEATTLE
10

11
     ERIC MATTHEW SCHOENBERG,
12                                                     No. 2:20—cv-01485—TSZ
13
                                    Plaintiff,
                                                       MOTION TO WITHDRAW AS
14          v.                                         PLAINTIFFS’ COUNSEL OF
15
                                                       RECORD PURSUANT TO LCR
     WINDSTAR CRUISES LLC, et al,                      83.2(B)(1)
16

17                              Defendants.            NOTED FOR HEARING:
                                                       3/26/2021
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21                              I. MOTION TO WITHDRAW

22   COMES NOW Attorney James McCanna and respectfully moves the court for an order
23   allowing counsel to withdraw as attorney of record for Plaintiff Eric Schoenberg in the
24
     above referenced matter. This motion is made pursuant to LCR 83.2(b)(1) and based on the
25
     subjoined declaration of counsel.
26

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                                                                     MCCANNA LAW, PLLC
     MOTION TO WITHDRAW - 1                                                P.O. BOX 468
                                                                        KINGSTON, WA 98346
                                                                        PHONE: 360-297-4057
                                                                         FAX: 360-297-4157
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     RESPECTFULLY SUBMITTED this 11th day of March, 2021.
 1

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 3

 4   /s/ JAMES MCCANNA
     James McCanna, WSBA # 22565
 5   McCanna Law, PLLC
 6   P.O. Box 468
     Kingston, WA 98346
 7

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                                  II. DECLARATION OF COUNSEL
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               COMES NOW James McCanna, under penalty of perjury under the laws of the
11
     State of Washington, and deposes and testifies as follows:
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     1.        I am the attorney of record for Plaintiff Eric Schoenberg in this matter, I make this
14
     declaration based upon personal knowledge, and I am competent to make the same.
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     2.        This matter is still in the discovery phase with discovery from Plaintiff due on
16

17   March 17, 2021.

18   3.        The discovery cut-off date is May 18, 2021.

19   4.        I made my best efforts to keep my client advised about litigation deadlines,
20   including discovery deadlines.
21
     5.        Throughout this lawsuit, I have had difficulties in getting timely responses from my
22
     client.
23
     6.        I have made repeated efforts to contact my client, through voice mail, email and via
24

25   text message.

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                                                                         MCCANNA LAW, PLLC
     MOTION TO WITHDRAW - 2                                                    P.O. BOX 468
                                                                            KINGSTON, WA 98346
                                                                            PHONE: 360-297-4057
                                                                             FAX: 360-297-4157
           Case 2:20-cv-01485-TSZ Document 14 Filed 03/11/21 Page 3 of 3




     7.     On the few occasions I have managed to speak with my client I have requested
 1
     timely responses to my inquiries and requests. I repeatedly advised my client that I could
 2

 3   not continue to represent him in the face of his repeated delays.

 4   8.     I have not heard from my client since February 23, 2021.
 5   9.     On March 4, 2021, I sent a certified letter of notice of withdrawal to his last known
 6
     address. Prior to this letter I confirmed his address in my records and with his mother.
 7
     10.    Review of the tracking number on the USPS website on March 11, 2021 shows that
 8
     the letter has been forwarded to an unknown address.
 9

10

11   By: /s/ James McCanna_____________
     James K. McCanna, WSBA NO. 22565
12
     McCanna Law, PLLC
13   P.O. Box 468
     Phone: (360) 297-4057
14   Fax: (360) 297-4157
     Email: jmccanna@mccannalaw.com
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                                                                         MCCANNA LAW, PLLC
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